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                                          1   CHRISTOPHER R. ORAM, ESQ
                                              Nevada Bar No. 004349
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                                              Las Vegas, Nevada 89101
                                          3   (702) 384-5563
                                              E-Mail: contact@christopheroramlaw.com
                                          4
                                              Attorney for Defendant
                                          5   EVERLY JAMES
                                                                           UNITED STATES DISTRICT COURT
                                          6                                     DISTRICT OF NEVADA
                                          7                                                *****
                                          8    UNITED STATES OF AMERICA,                       CASE NO. 2:17-cr-00180-JAD-PAL

                                          9                   Plaintiff,

                                         10    vs.                                             STIPULATION TO CONTINUE THE
                                                                                               REPLY TO THE GOVERNMENT’S
                                         11    EVERLY JAMES                                    RESPONSE (ECF No. 278) TO
                                                                                               DEFENDANT’S MOTION TO DISMISS
520 SOUTH 4TH STREET | SECOND FLOOR




                                         12                                                    (ECF No. 267)(First Request)
 TEL. 702.384-5563 | FAX. 702.974-0623




                                                               Defendants.
    CHRISTOPHER R. ORAM, LTD.

       LAS VEGAS, NEVADA 89101




                                         13
                                         14          IT IS HEREBY STIPULATED AND AGREED, by and between the United States of

                                         15   America, by and through Cristina D. Silva, Assistant United States Attorney, and Everly James,

                                         16   by and through his attorney, Christopher R. Oram, that the Reply to the Government’s Response
                                              to Defendant’s Motion to Dismiss, currently due on Wednesday, February 28, 2018, be
                                         17
                                              continued for two (2) weeks, until March 14, 2018, for the following reasons:
                                         18
                                         19          1. Counsel for the Defendant requires additional time to draft a Reply to the

                                         20   Government’s Response and to discuss the Government’s Response and the Reply with the

                                         21   Defendant.

                                         22          2. The defendant is in custody and does not object to this stipulation.
                                         23          3. Denial of this request could result in a miscarriage of justice because it prevents
                                         24   counsel for the Defendant from having meaningful discussions with the Defendant concerning
                                         25   the Reply.
                                         26
                                         27
                                         28                                                    1
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                                                    4. This is the first request to continue the Reply to the Government’s Response to
                                          2   Defendant’s Motion to Dismiss.
                                          3
                                                     /s/ Cristina D. Silva 02/26/2018             /s/ Christopher R. Oram     02/26/2018
                                          4
                                                     CRISTINA SILVA DATE                          CHRISTOPHER R. ORAM           DATE
                                          5
                                                     Assistant United States Attorney             Counsel for Defendant E. James
                                          6
                                          7
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                                         11
520 SOUTH 4TH STREET | SECOND FLOOR




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                                                     Based upon the pending Stipulation of the parties, and good cause appearing therefore,
                                          2
                                              the Court finds that:
                                          3
                                                     1. Counsel for the Defendant requires additional time to draft a Reply to the
                                          4
                                              Government’s Response and to discuss the Government’s Response and the Reply with the
                                          5
                                              Defendant.
                                          6
                                                     2. The defendant is in custody and does not object to this stipulation.
                                          7
                                          8          3. Denial of this request could result in a miscarriage of justice because it prevents

                                          9   counsel for the Defendant from having meaningful discussions with the Defendant concerning
                                              the Reply.
                                         10
                                         11         4. This is the first request to continue the Reply to the Government’s Response to
                                              Defendant’s Motion to Dismiss.
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                                         13          For all of the above-stated reasons, the end of justice would best be served by a two
                                         14
                                              week continuance of the deadline for the Defendant to file his Reply to the Government’s
                                         15
                                              Response to Defendant’s Motion to Dismiss.
                                         16
                                         17
                                         18                                                   ORDER

                                         19            IT IS ORDERED that the Defendant’s deadline to respond to the Government’s
                                         20   Response to Defendant’s Motion to Dismiss, currently scheduled for February 28, 2018, be
                                         21   vacated and continued to __________________,
                                                                               March 14 2018.

                                         22          DATED this 2nd day of March, 2018.
                                         23
                                         24
                                                                                                    __________________________________
                                         25                                                         THE HONORABLE PEGGY A. LEEN
                                         26                                                         United States Magistrate Judge

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